Case 2:06-cr-20626-AC-RSW ECF No. 117, PageID.690 Filed 01/22/09 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                     Case No. 06-20626

KENNY MATTHEWS,                                        HONORABLE AVERN COHN

      Defendant.

___________________________________/

 ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S REQUEST
       FOR PRODUCTION OF TRANSCRIPTS AND COPIES OF SAME
                              AND
   DENYING MOTION TO PROCEED IN FORMA PAUPERIS AS PREMATURE

      This is a criminal case. On March 28, 2008, defendant was sentenced to 120

months imprisonment following his plead of guilty to Arson to Commit Any Federal

Felony.

      Defendant has filed a motion styled “Motion for Order for Production of

Transcripts and Copies of Same at Government’s Expense, and Motion to Proceed in

Forma Pauperis.” Essentially, defendant seeks copies of transcripts and other

documents from his case in order to file a motion under 28 U.S.C. § 2255 and requests

in forma pauperis status to proceed on his motion.

      Defendant first requests copies of his plea hearing and sentencing hearing. The

Court cannot grant the request at this time. To obtain a copy of these transcripts,

defendant must sign and date the enclosed form under the Section 15 and return it to



                                      Page 1 of 2
Case 2:06-cr-20626-AC-RSW ECF No. 117, PageID.691 Filed 01/22/09 Page 2 of 2




the Court to the attention of the Court Reporter, Sheri K. Ward. Upon receipt of the

form, copies will be mailed to you within 30 days. If you desire copies sooner, please

check “expedited” under Section 14(b).

        Next defendant requests copies of the docket sheet and plea agreement. This

request is GRANTED. The requested copies are enclosed.

        Finally, defendant requests copies of his presentence report, objections to the

presentence report, and the government’s response to the objections. The Court

cannot provide these to defendant. Rather, defendant must ask his Case Manager at

the prison for copies of these documents.

        Defendant also requests in forma pauperis status (IFP). This request is DENIED

as premature. The Court cannot grant him IFP status until he files a motion under §

2255.

        SO ORDERED.


                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


Dated: January 22, 2009


I hereby certify that a copy of the foregoing document was mailed to Kenny Matthews,
41009-039, FCI Pekin, P.O. Box 5000, Pekin, IL 61555 and the attorneys of record on
this date, January 22, 2009, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




                                       Page 2 of 2
